Case 17-12870 Doc 100 Filed 01/21/21 Entered 01/21/21 23:55:08 Main Document Page 1 of
                                           11



                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF LOUISIANA


   IN RE:                                   )                            Case No. 17-12870
                                            )
   REILLY-BENTON COMPANY, INC.,             )                            Chapter 7
                     DEBTOR.                )
                                            )                            Judge Grabill
   ________________________________________ )


                    BRIEF OF THE CHAPTER 7 TRUSTEE AND
              THE LOUISIANA INSURANCE GUARANTY ASSOCIATION
         CONCERNING WHETHER AN ADVERSARY PROCEEDING IS REQUIRED
         TO ADJUDICATE THE TRUSTEE’S REQUEST FOR INJUNCTIVE RELIEF

            David V. Adler, the Chapter 7 trustee (the “Trustee”), has moved for the entry of an order

   approving a settlement agreement with the Louisiana Insurance Guaranty Association (“LIGA”)

   (Dkt. No. 48, the “Motion”).1 LIGA is not an insurance carrier, but is obligated to pay and/or

   defend claims asserted against certain insolvent insurers pursuant to the Louisiana Insurance

   Guaranty Association Act (“LIGA Act”). On October 3, 2001, the Commonwealth Court of

   Pennsylvania declared Reliance Insurance insolvent and ordered its liquidation. LIGA is

   obligated to pay and/or defend LIGA Covered Claims pursuant to the provisions of the Reliance

   Policies and the LIGA Act. Asbestos Claims have been, and continue to be, asserted against the

   debtor and the bankruptcy estate.

            The settlement with LIGA provides for the turnover to the estate pursuant to §§ 542 and

   363 of the Bankruptcy Code of the full aggregate limits of liability remaining under all of the

   Reliance Policies that do not have asbestos exclusions for which LIGA has statutory

   responsibility under the LIGA Act so that the limited funds available can be administered by the


     1
      Capitalized terms not otherwise defined herein have the meanings ascribed to them in the LIGA Motion or the
   underlying Settlement Agreement with LIGA.
Case 17-12870 Doc 100 Filed 01/21/21 Entered 01/21/21 23:55:08 Main Document Page 2 of
                                           11



   Trustee in accordance with one of the prime purposes of bankruptcy law—the promotion of the

   ratable distribution of property of the estate to the creditors of the debtor. In the Motion, the

   Trustee also requests that this Court approve the turnover as a compromise pursuant to

   Bankruptcy Rule 9019(a) and enter an injunction under § 105(a) of the Bankruptcy Code. The

   ancillary injunction is necessary in this case, as it is in all mass tort asbestos settlements, to

   protect LIGA as the settling party from being subjected to attempts by persons seeking to

   circumvent the LIGA Act by continued pursuit of claims against LIGA after it has satisfied its

   statutory obligations under the LIGA Act through the turnover to the estate and the channeling of

   all claims to the statutory proceeds.

           Notice of the compromise was sent pursuant to Judge Brown’s Order Approving Notice

   Procedures [P-45]2 by U.S. Mail, postage prepaid, and properly addressed to all parties listed on

   the Asbestos Firms List, the Debtor, the U.S. Trustee, and upon all persons or entities having

   entered an appearance and requesting notice pursuant to the Court’s CM/ECF filing system.

   Notice of the Motion, the hearing on the Motion, and the opportunity to file objections to the

   Motion was also published in USA Today, The Times-Picayune/The New Orleans Advocate, the

   Baton Rouge Advocate, the Acadiana Advocate (Lafayette, LA), the Town Talk (Alexandria,

   LA), the Shreveport Times, the Lake Charles American Press, and the News Star (Monroe, LA).3

   Only one timely objection (“Roussel Objection”) was filed to the LIGA compromise.4

           Although one of the arguments made in the Roussel Objection was an objection to the

     2
       Judge Brown had previously authorized service on asbestos claimants through their counsel of record, as is
   common in asbestos bankruptcies. (See Dkt. No. 45.)
     3
       See Notice of Publication, Dkt. No. 63.
     4
       The parties named as objectors in the Objection are Mary Patsy Soileau Courville, Mavis Todd Courville,
   Michael Wade Courville, and Joseph Eric Courville (“Roussel objectors”). A late objection was filed by Landry &
   Swarr almost one month past the deadline. [Dkt. No. 72]. The objectors’ lawyers contend that the Court should treat
   as objectors additional persons purportedly represented by those lawyers who were not actually identified as
   objectors. However, the failure to identify such persons in the objections should preclude their being considered as
   objectors.


                                                          -2-
Case 17-12870 Doc 100 Filed 01/21/21 Entered 01/21/21 23:55:08 Main Document Page 3 of
                                           11



   issuance of the § 105 ancillary injunction as part of the compromise order, nowhere in the

   Roussel Objection did it assert the procedural objection it now raises—i.e., that the LIGA

   compromise motion requires an adversary proceeding. The issue was never raised by the

   Roussel claimants until Landry & Swarr filed its late objection to the LIGA Motion about a

   month after the objection deadline in which Landry & Swarr argued the alleged procedural

   necessity for an adversary proceeding. On that same day, Roussel filed a Supplemental Objection

   to the LIGA compromise in which it raised the procedural objection for the first time. This

   procedural issue was raised during the January 11, 2021 status conference before this Court.

   Following the status conference, the Court provided an opportunity to all the parties to file briefs.

   (See Dkt. Nos. 92, 95.)

            The Trustee and LIGA believe that the objectors’ arguments are incorrect and that this

   Court can and should issue the requested injunction in this contested matter. The injunction

   being sought is not one that seeks injunctive relief by extension of the automatic stay or by

   extension of any discharge provision in violation of § 524. It is merely ancillary to the proposed

   turnover of the property of the estate by LIGA to the Trustee and the channeling of the proceeds

   to the property of the estate.5 The courts have been approving asbestos channeling compromises

   that include such ancillary injunctions for years without requiring an adversary proceeding, and

     5
        The Century Settlement accomplishes the same result in their Motion through a mechanism used in some
   settlements that include a § 363(f) sale of the relevant policies back to the insurer free clear of the asbestos claims
   with the asbestos claims being channeled to the proceeds. Because the LIGA Motion does not relate to policies of
   an existing insurer, but rather to LIGA’s statutory obligations to pay certain amounts in connection with the
   insurance policies of an insolvent insurer, the LIGA turnover motion does not incorporate the § 363 mechanism.
   Nevertheless, the effect of the relief is identical in that, as with a § 363 “free and clear” sale that channels the
   asbestos claims to the proceeds, the turnover by LIGA of its statutory obligations under the policies of the insolvent
   insurer Reliance, likewise channels the asbestos claims to the property of the estate that LIGA is turning over to the
   Trustee. See Macarthur Co. v. Johns-Manville Corp., 837 F.2d 89, 94 (2d Cir. 1988) (“Admittedly, the insurance
   settlement and accompanying injunction in this case are not precisely the same as the traditional sale of real property
   free and clear of liens followed by a channeling of the liens to the proceeds of the sale…. Here, the property of the
   estate at issue (insurance policies) was not technically ‘sold’; rather, Manville liquidated its interest via a voluntary
   settlement….Nevertheless, the underlying principle of preserving the debtor’s estate for the creditors and funneling
   claims to one proceeding in the bankruptcy court remains the same.”).


                                                            -3-
Case 17-12870 Doc 100 Filed 01/21/21 Entered 01/21/21 23:55:08 Main Document Page 4 of
                                           11



   there is no reason to require one in this case. In addition, even if an adversary proceeding were

   required (which is denied), the objectors have waived any right to an adversary proceeding,

   having failed to timely raise the procedural objection. Moreover, in this case, they are in no way

   prejudiced because in this case, they have made their substantive arguments regarding the

   ancillary injunctions in their objections, and they will be given a full opportunity to conduct

   discovery and be heard on their substantive objections.

         A. Background

           The Trustee filed the LIGA Motion on July 2, 2020 (Dkt No. 48). The primary terms of

   the settlement are as follows:6

           A.     At the Closing, LIGA shall pay $1,046,413.84 (“Settlement Amount”) to the
                  Trustee by wire transfer or by certified check.

           B.     The Settlement Amount shall be deemed payment and settlement for the LIGA
                  Covered Claims in full and final satisfaction of any statutory or contractual
                  obligations of LIGA with respect to the Act and the Reliance Policies. Otherwise,
                  LIGA will have no liability or responsibility under the Act or the Reliance Policies
                  for any allocation of the Settlement Amount among any Claimants asserting
                  Asbestos Claims or their respective attorneys.

           C.     As of the Effective Date, and without any further action being required, the Trustee,
                  on behalf of the Estate, fully, finally, and completely remises, releases, covenants
                  not to sue, and forever discharges the LIGA Released Parties from and with respect
                  to any and all Claims and interests whether actual or alleged, known or unknown,
                  accrued or unaccrued, existing or potential, suspected or unsuspected, under, arising
                  out of, related to, and/or in connection with the Reliance Policies.

           D.     In addition, the Trustee withdraws, on behalf of the Estate, any and all requests,
                  demands, or tenders for defense or indemnity previously submitted under the
                  Reliance Policies and further surrenders, relinquishes, and releases any further right
                  to tender or present any Claims whatsoever under the Reliance Policies.
                  Furthermore, by virtue of the foregoing releases, LIGA shall have no duty to defend
                  or indemnify the Estate with respect to any Claim under the Reliance Policies.
                  Notwithstanding anything that could be construed to the contrary above, nothing in

     6
      This is a summary only. Reference should be made to the complete Agreement attached as Exhibit A to the
   LIGA Motion. In the event of any discrepancies between the Agreement and the summary set forth in this brief, the
   Agreement controls.


                                                         -4-
Case 17-12870 Doc 100 Filed 01/21/21 Entered 01/21/21 23:55:08 Main Document Page 5 of
                                           11



                  the releases shall relieve LIGA of its obligation to pay the Settlement Amount
                  pursuant to the conditions set forth in this Agreement.

            E.    LIGA fully, finally, and completely remises, releases, covenants not to sue, and
                  forever discharges the RBC Released Parties from and with respect to any and all
                  Claims and interests whether actual or alleged, known or unknown, accrued or
                  unaccrued, existing or potential, suspected or unsuspected, under, arising out of,
                  related to, and/or in connection with the Reliance Policies.

            F.       Pursuant to the proposed Order approving the Agreement and the compromise
                     and settlement memorialized, (a) all Persons who hold or assert, or may in the
                     future hold or assert, any Claim against the Debtor, Reliance, LIGA, or the Estate
                     arising in connection with the activities covered by the Reliance Policies, or in
                     connection with the Debtor’s activities giving rise to the Claims that have been
                     made or that could be made under the Reliance Policies, and (b) any other Person
                     who may claim to be an insured, additional insured, or otherwise entitled to any
                     benefit under the Reliance Policies, shall be directed to assert such Claim or right
                     solely and exclusively against the Estate and the proceeds of the Settlement
                     Amount, and such Persons shall be permanently stayed, barred, restrained, and
                     enjoined from asserting any such Claim or right to entitlement, from commencing
                     a proceeding, or taking any other action against LIGA or the LIGA Released
                     Parties for the purpose of obtaining any recovery or other relief from LIGA or the
                     LIGA Released Parties based on, under, arising out of, related or attributable to,
                     and/or in connection with the Reliance Policies.

            As explained in the Motion, of critical importance to the Trustee is the fact that LIGA’s

   statutory obligations under the LIGA Act are capped, and therefore create a limited pool.7 The

   settlement with LIGA creates a fund that can be used to pay all deserving claimants equally.

   Because more than 18,000 claimants have already asserted claims against the Debtor, without

   this settlement, the first few claimants to win the “race to the courthouse” to obtain recoveries

     7
       The LIGA statute in effect on the date of Reliance’s insolvency (October 3, 2001) imposed on LIGA a maximum
   statutory limit of liability of $150,000 per claim and $300,000 per accident or occurrence as stated in La. R.S.
   22:1382(A)(1)(a)(iii) at that time. According to La. R.S. 22:1382(A)(1)(b) then in effect, “[t]he applicable limit per
   claim and per accident or occurrence shall be exhaustive of the entire liability of the association [LIGA] under this
   Part, however arising, without regard to the nature of or basis for that liability, except court costs incurred
   subsequent to the date of insolvency.” The proposed settlement is the maximum amount available under the LIGA
   Act and applicable insurance law under the facts. Indeed, even if there were the possibility of pursuing claims under
   the Reliance Policies beyond the full products/completed hazard aggregate limits of the policies, when Reliance was
   declared insolvent and placed into liquidation in 2001, all claims against LIGA under the Reliance Policies became
   subject to the specific limitations provided for under the LIGA Act, which would foreclose any additional recovery
   above the Reliance Policies remaining aggregate limits (that is, above the amount LIGA would actually pay under
   the Parties’ Settlement Agreement).



                                                           -5-
Case 17-12870 Doc 100 Filed 01/21/21 Entered 01/21/21 23:55:08 Main Document Page 6 of
                                           11



   would exhaust LIGA’s remaining obligations under the Reliance policies and the LIGA Act,

   leaving nothing for equally deserving claimants. The settlement ensures that the Trustee can

   address all potential claims against the Debtor and will allow for pro rata payments to all

   deserving claimants, thereby promoting equality of treatment among similarly situated creditors,

   a key bankruptcy policy.

            In addition, issuing an injunction barring any person from asserting any Claim against

   LIGA relating to the Reliance Policies is both necessary and appropriate. See, e.g., In re Johns-

   Manville Corp., 837 F.2d 89, 93 (2d Cir. 1988) (approving the imposition of an injunction in

   favor of certain insurers under both sections 363 and 105). Just as in Johns-Manville, the court’s

   injunction is “necessary to effectuate the Court’s channeling authority, that is, to make sure that

   claims to Manville’s insurance proceeds were, in fact, channeled to the settlement fund and could

   not be asserted directly against the insurers.” Id. at 92; see also See also Picard v. Fairfield

   Greenwich Ltd., 762 F.3d 199, 211 (2d Cir. 2014) (quoting In re Quigley Co., Inc., 676 F.3d 45,

   58 (2d Cir. 2012)).8 LIGA has stated that it will not proceed with the settlement and turnover of

   the funds to the estate absent an injunction. LIGA is a quasi-governmental body of limited power

   and funding. It cannot subject itself to the risks of continued litigation without the clarity of the

   requested injunction.

         B. No adversary proceeding is required for the relief sought under Rule 9019

            As a threshold matter, there is no basis whatsoever for any argument that the relief sought

   by the Trustee under Bankruptcy Rule 9019 (approval of the settlement) requires an adversary

   proceeding. The list of adversary proceedings in Bankruptcy Rule 7001 makes no mention of

     8
       Picard, 762 F.3d at 211 (“[A] court has the power pursuant to section 105(a) to enjoin claims against a non-
   debtor third party where those claims are derivative, … or otherwise ‘pose[ ] the specter of direct impact on the res
   of the bankrupt estate.’ The question is, essentially, ‘whether the direct result of a suit against a third party will be
   the removal of assets from the bankruptcy estate.’”).


                                                            -6-
Case 17-12870 Doc 100 Filed 01/21/21 Entered 01/21/21 23:55:08 Main Document Page 7 of
                                           11



   Rule 9019. One consequence of this fact is that any person who did not file an objection is

   deemed to have consented to the relief sought in the Motion, including the request for an

   injunction channeling the claims to the property of the estate being turned over to the Trustee by

   LIGA pursuant to the settlement.9 Accordingly, any person who did not file an objection to the

   Motion should be deemed to have consented to the Motion and the relief sought therein,

   including the requested injunction. The only timely objection filed to the LIGA Motion was

   filed by the Roussel firm, but the Roussel firm did not assert in its original objection that they

   believed that an adversary proceeding was required. Therefore, as it relates to the procedural

   issue before the Court, neither the Roussel claimants nor any other person or entity should be

   permitted to raise this procedural issue, having waived the right to do so.

         C. No adversary proceeding is required for a limited, ancillary injunction enforcing the
            benefits of the automatic stay as it relates to the Trustee’s efforts to obtain the turnover
            of property of the estate in a proceeding that channels all claims to the proceeds of the
            estate property.

            The objectors argue that the Motion is “procedurally defective” because the Trustee is

   seeking entry of an injunction without commencing an adversary proceeding. But the objectors

   cite no case that imposes such a requirement in the context of the turnover of property of the

   estate in a mass tort action where the claims against the estate property are channeled to the

   proceeds of the property being turned over to the estate. In fact, courts have consistently held that

   Bankruptcy Rule 7001(7) is not applicable in such cases where the motion is not seeking a new

   injunction beyond that already provided for in section 362(a). See, e.g., In re Kalikow, 602 F.3d

   82, 93 (2d Cir. 2010) (agreeing that “the enforcement of a preexisting injunction” may be

   accomplished as a contested matter rather than through an adversary proceeding); In re Ritchie


     9
       See, e.g., Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746, 763 (5th Cir. 1995) (recognizing that where a party
   is entitled to an adversary proceeding, such right can be waived).


                                                           -7-
Case 17-12870 Doc 100 Filed 01/21/21 Entered 01/21/21 23:55:08 Main Document Page 8 of
                                           11



   Risk-Linked Strategies Trading (Ireland), Ltd., 471 B.R. 331, 337 (Bankr. S.D.N.Y. 2012)

   (“[T]he Motion need not have been brought as an adversary proceeding since U.S. Bank seeks

   only the enforcement of an injunction already in effect..., not the issuance of a new

   injunction.”).10

           It makes great sense not to require the filing of an adversary proceeding to obtain an

   injunction that is merely a corollary to the power of the Trustee to collect property of the estate

   and channel claims to the proceeds.”11 Considering the more than 18,000 asbestos claimants

   listed in the Debtor’s bankruptcy case, LIGA has a legitimate concern about making sure that

   once it turns over the estate property to the Trustee for administration, it will not be the subject

   of any further lawsuits. Unfortunately, litigants may disregard the compromise and turnover

   order, thus making protective corollary injunctive relief necessary in certain instances. Indeed,

   without the injunction, litigants may be prone to freely disregard the concepts of equitable

   distribution under the Bankruptcy Code and ignore the terms of any compromise-turnover order

   entered by this Court so that they can pursue direct claims against LIGA instead of (or in

   addition to) claims against the property of the estate which LIGA will have already turned over

   to the Trustee for administration on behalf of all deserving claimants equally.

           The fact, however, is that the requested injunction is truly ancillary to the main relief

   sought—i.e., the compromise with LIGA to turn over property of the estate, which does not

   require an adversary proceeding. It would surely elevate form over substance in an entirely

   unwarranted and perverse way to require the Trustee to sue more than 18,000 claimants - all but


     10
        See also In re Texaco, Inc., 182 B.R. 937, 945 (Bankr. S.D.N.Y. 1995) (“Rule 7001 simply does not provide
   that a motion to enforce must be brought by adversary proceeding. So also with subsection (7) ‘to obtain an
   injunction or other equitable relief’ and subsection (9) ‘to obtain a declaratory judgment relating to any of the
   foregoing.’”).
     11
        MacArthur Co. v. Johns-Manville Corp., 837 F.2d 89, 93 (2d Cir. 1988).


                                                         -8-
Case 17-12870 Doc 100 Filed 01/21/21 Entered 01/21/21 23:55:08 Main Document Page 9 of
                                           11



   eight of whom filed an objection to the Motion - merely to establish that they cannot willfully

   violate the terms of an order entered by this Court.12 Moreover, a lawsuit of such unmanageable

   proportions would impose unimaginable costs on the estate. The requirement the objectors seek

   to impose would forever hamstring trustees and debtors in possession in their efforts to monetize

   assets of the estate for distribution to creditors on an equitable basis.13

            The objectors base their argument that an adversary proceeding is required on the Fifth

   Circuit’s decision in Zale Corp.14 That case is distinguishable, however, because it did not

   involve an injunction entered as a corollary to a turnover and compromise order that channeled

   the claims of all creditors to the property of the estate being turned over to the trustee.

   Significantly, no decision has applied Zale to an injunction entered as a corollary to a turnover

   order that is necessary to protect and administer property of the estate. In addition, unlike the

   case here, there was no prior notice to the affected parties of the proposed injunction in Zale.15

   By contrast, the Trustee in this case gave notice of the Motion, including his intent to seek an

   injunction, and also widely published notice in one national paper and in multiple local papers

   throughout Louisiana in an attempt to reach unknown claimants. Thus, the objectors, who filed

     12
        See, e.g., In re American Dev. Int'l. Corp., 188 B.R. 925, 935 (N.D. Tex. 1995) (where rights of affected parties
   have been adequately protected and affected parties have had an opportunity to be heard, form should not be
   elevated over substance). The objectors seek to represent the interests of persons who are not present before the
   court, including persons with notice of the Motion who failed to object. (See Roussel Obj. at 2 (“This order seeks
   not only to affect the Roussel and Clement creditors but numerous other Reilly-Benton tort victims as well as future
   tort victims of Reilly-Benton whose diseases have not yet manifested”).) The objectors, however, lack standing to
   represent the interests of those who did not object. See, e.g., Locks v. U.S. Trustee, 157 B.R. 89 (W.D. Pa. 1993)
   (attorney for asbestos claimants could not argue for the interests of future claimants).
     13
        It similarly would be unreasonable to require an adversary proceeding against LIGA to approve a settlement
   that has, as one of its benefits to the estate, the avoidance of litigation.
     14
        Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746 (5th Cir. 1995).
     15
        See id. at 749 (noting that the request for an injunction was added via a modification to the proposed settlement
   agreement during “the evening of the first day of the hearing”). In fact, the two Fifth Circuit cases cited by Zale as
   authority recognizing waiver (but denying waiver in the particular cases) also involved situations where the parties
   had no real prior notice of the requested relief that required the filing of an adversary. See In re Haber Oil Co., 12
   F.3d 426, 440 (5th Cir. 1994) (“the record shows that Haber Oil was not given proper notice prior to the
   commencement of the post-confirmation proceedings in the bankruptcy court”); In re Village Mobile Homes, 947
   F.2d 1282, 1283 (5th Cir. 1991) (“Counsel for Village Mobile was not present when the conversion claim was first
   raised in bankruptcy court”).


                                                           -9-
Case 17-12870 Doc 100 Filed 01/21/21 Entered 01/21/21 23:55:08 Main Document Page 10 of
                                           11



   extensive objections, cannot claim that they did not receive adequate notice of the Trustee’s

   request for an ancillary § 105 injunction to give effect to the turnover and compromise order.

            Moreover, courts within the Fifth Circuit have held, following Zale, that it is not

   necessary to commence an adversary proceeding in every instance to obtain an order enjoining

   third-party claims, so long as the parties who would be subject to the injunction are given a “full

   and fair” hearing.16 For example, in rejecting an argument that an injunction was per se

   improper because it was entered without an adversary proceeding in the context of a hearing to

   consider a proposed settlement, the court in Bayoud noted that, “[u]nlike the facts of Zale, in

   which appellants’ challenge to a settlement was prevented by the bankruptcy court and treated as

   a collateral and irrelevant sideshow in an otherwise complex and extended hearing, in the instant

   case [the objector’s] attack on the settlement easily consumed the bulk of the hearing and was in

   all respects heard as if in the context of an adversary proceeding.”17

            The question of whether to approve the proposed turnover and compromise under Rule

   9019 and issue an ancillary channeling injunction to enforce the order will be no sideshow here.

   Rather, it will be the main event. The objectors have had notice of the Motion, they have filed

   extensive objections, they will be permitted to take discovery,18 and they will have a chance to

   participate in an evidentiary hearing devoted solely to the Motion. This provides the Objectors

   with the same “full and fair” opportunity for a hearing as an adversary proceeding. Nothing

   more is or should be required.19


     16
        See, e.g., Bayoud v. Medical Center Hospital of Garland, Inc., 188 B.R. 925, 935 (N.D. Tex. 1995).
     17
        Id. (citation omitted). The district court found that the bankruptcy court’s injunction nevertheless was improper
   because the bankruptcy court had not conducted the proper injunction analysis and remanded.
     18
        Bankruptcy Rule 9014 incorporates all of the discovery tools available through Bankruptcy Rules 7026 and 7-
   28-7037 into contested matters.
     19
        Even where an adversary proceeding is otherwise strictly necessary, which is not the case here, courts will
   overlook non-compliance with Rule 7001 where no harm results from doing so. See cases cited in footnote 24 of the
   Brief filed by the Trustee and Century contemporaneously with the filing of this Brief. (Dkt. No. 99).


                                                          - 10 -
Case 17-12870 Doc 100 Filed 01/21/21 Entered 01/21/21 23:55:08 Main Document Page 11 of
                                           11



                                              Conclusion

          An adversary proceeding is not required here. The Court can and should issue the

   requested ancillary injunction in this contested matter. The objectors’ rights and interests are not

   adversely affected if this matter proceeds by motion rather than by complaint.

   DATED: January 21, 2021

                                                 Respectfully submitted,

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                                                  - 11 -
